             Case 2:22-cr-00001-TL           Document 67   Filed 01/11/23    Page 1 of 1




 1                                                                The Honorable Judge Tana Lin
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 6
 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9
10
      UNITED STATES OF AMERICA,                            NO. CR22-001 TL
11
                               Plaintiff
                                                           [Proposed]
12
                                                           ORDER TO SEAL DOCUMENT
13
                          v.
14
      SHABNAM DAWN PILISUK,
15
                               Defendant.
16
17
18          Having read the Government’s Motion to Seal (Dkt. No. 60) and because of the
19 sensitive information contained in Exhibit 1 to its response to the defendant’s motion for
20 release from custody, it is hereby ORDERED that this exhibit (Dkt. No. 61) shall be filed
21 under seal and remain sealed until further Order of the Court.
22          Dated this 11th day of January, 2023.
23
24                                                     A
                                                       Tana Lin
25                                                     United States District Judge
26 Presented by:
   s/ Laura Harmon
27 LAURA HARMON
28 Special Assistant United States Attorney
     Order to Seal                                                        UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Pilisuk, CR22-001 TL
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
